
PER CURIAM.
Appellant appeals from a final order of the judge of compensation claims (JCC) raising a number of issues, only two of which need to be addressed: (1) Whether the JCC erred in denying a claim for medical mileage reimbursement, and (2) whether the JCC erred in denying a claim for penalties and interest. The employer/carrier conceded at oral argument that the case should be remanded for a determination of the claimant’s entitlement to penalties and interest, and we find that there was no basis for denying reimbursement for medical mileage prior to the date of maximum medical improvement. We reverse and remand on these issues, but affirm the order of the JCC in all other respects.
BOOTH, WOLF and KAHN, JJ., concur.
